                                                 Entered on Docket
                                                 November 10, 2021
                                                 EDWARD J. EMMONS, CLERK
                                                 U.S. BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
 1   MACDONALD | FERNANDEZ LLP
     Reno F.R. Fernandez III (SBN 251934)
 2
     221 Sansome Street, Third Floor      The following constitutes the order of the Court.
 3   San Francisco, CA 94104              Signed: November 10, 2021
     Telephone: (415) 362-0449
 4   Facsimile: (415) 392-5544
 5   Attorneys for Creditor,
     Rachel Kuechle
 6                                               ______________________________________________
                                                 Stephen L. Johnson
 7                                               U.S. Bankruptcy Judge


 8
                               UNITED STATES BANKRUPTCY COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10   In re                                             Case No. 21-50028-SLJ-7
11   EVANDER FRANK KANE,                               Chapter 7
12                   Debtor.                           R.S. No. MF-1
13                                                     ORDER GRANTING RACHEL KUECHLE’S
                                                       MOTION FOR LIMITED RELIEF FROM
14                                                     THE AUTOMATIC STAY
15                                                     Date: November 9, 2021
                                                       Time: 10:00 a.m.
16                                                     Place: Via Zoom Video Conference
17                                                     Honorable Stephen L. Johnson
18

19           A hearing on Rachel Kuechle’s Motion for Limited Relief from the Automatic Stay (Docket
20   No. 242) was held on November 9, 2021. Reno F.R. Fernandez III appeared for Rachel Kuechle,
21   Movant herein; Ryan A. Witthans appeared for Evander Frank Kane, Debtor herein. The Court,
22   having considered the Motion and all evidence, representation and argument offered in connection
23   therewith, including the Debtor’s Statement Regarding Motion for Relief from Stay (Docket No.
24   247), the Trustee’s Non-Opposition to Rachel Kuechle’s Motion for Relief from the Automatic Stay
25   (Docket No. 246), and the Movant’s Notice of Errata to Memorandum of Points and Authorities
26   (Docket No. 248), for the reasons stated on the record, and good cause appearing,
27           IT IS HEREBY ORDERED that:
28           1.     The Motion is GRANTED to the extent provided herein;

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 1          2.      The automatic stay provided in Bankruptcy Code § 362(a) is hereby modified such

 2   that the movant, namely Rachel Kuechle, may prosecute to judgment that certain action before the

 3   State of New York Supreme Court, County of Eerie, now pending as Kuechle v. Kane, Index No.

 4   807030/2016, but only as to her fourth cause of action for negligent injury; and

 5          3.      Notwithstanding the foregoing, Ms. Kuechle may not enforce any resulting judgment,

 6   award or order against the Debtor or the estate absent further order of this Court.

 7   APPROVED AS TO FORM:

 8   FINESTONE HAYES LLP
 9
      y: _______________
     By: ___________________
10          R
            Ryan A Witthans
                 A. Witth
            Counsel for Debtor,
11          Evander Frank Kane
12                                        *** END OF ORDER ***
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 1                                       COURT SERVICE LIST

 2   All parties required to be served are registered CM/ECF participants who have appeared in this case.
 3                                              B.L.R. 9022-1(a).

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